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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

In re:                                      )
                                            )
11380 SMITH RD LLC                          )      Case No. 18-10965 TBM
EIN XX-XXXXXXX                              )      Chapter 11
                                            )
Debtor.                                     )


     ERRATA TO DEBTOR’S PLAN OF REORGANIZATION DATED MARCH 23, 2018


      Debtor-in-Possession, 11380 Smith Rd LLC (“Debtor”), through its counsel,
Weinman & Associates, P.C., hereby submits this Errata to its previously filed Plan of
Reorganization (“Plan”) dated March 23, 2018 (Docket No. 53).

1.       Article III, Paragraph 3.1 shall be modified to add the following language: In the
         event the Debtor’s Real Property is not sold or refinanced within one (1) year of the
         Confirmation Order, the Real Property shall be deeded to the Class 2 creditor.

2.       Article VI, Paragraph 6.1 is modified to add the following language: In the event the
         Debtor’s Real Property is not sold or refinanced within one (1) year of the
         Confirmation Order, the Real Property shall be deeded to the Class 2 creditor.

DATED: March 28, 2018

                                            Respectfully Submitted,

                                            WEINMAN & ASSOCIATES, P.C.



                                            By: /s/ Jeffrey A. Weinman
                                                    Jeffrey A. Weinman, #7605
                                                    730 17th Street, Suite 240
                                                    Denver, CO 80202-3506
                                                    Telephone: (303) 572-1010
                                                    Facsimile: (303) 572-1011
                                                    jweinman@weinmanpc.com
